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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          BEAUMONT DIVISION

UNITED STATES OF AMERICA           §
                                   §
v.                                 §    Cause No. 1:20-CR-83
                                   §    Judge Thad Heartfield
WILLIAM GLENN CHUNN,               §
     a/k/a “BIG HEAD”; (1)         §
JESSE PAUL BLANKENSHIP,            §
     a/k/a “JP” (5)                §

                           JURY INSTRUCTIONS
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INTRODUCTION TO FINAL INSTRUCTIONS

Members of the Jury:

       In any jury trial there are, in effect, two judges. I am one of the judges; the other

is the jury. It is my duty to preside over the trial and to decide what evidence is proper for

your consideration. It is also my duty at the end of the trial to explain to you the rules of

law that you must follow and apply in arriving at your verdict.

       First, I will give you some general instructions which apply in every case, for

example, instructions about the burden of proof and how to judge the believability of

witnesses. Then I will give you some specific rules of law about this particular case, and

finally I will explain to you the procedures you should follow in your deliberations.

DUTY TO FOLLOW INSTRUCTIONS

       You, as jurors, are the judges of the facts. But in determining what actually

happened—that is, in reaching your decision as to the facts—it is your sworn duty to follow

all of the rules of law as I explain them to you.

       You have no right to disregard or give special attention to any one instruction, or to

question the wisdom or correctness of any rule I may state to you. You must not substitute

or follow your own notion or opinion as to what the law is or ought to be. It is your duty

to apply the law as I explain it to you, regardless of the consequences.

       It is also your duty to base your verdict solely upon the evidence, without prejudice

or sympathy. That was the promise you made and the oath you took before being accepted

by the parties as jurors, and they have the right to expect nothing less.

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PRESUMPTION OF INNOCENCE, BURDEN OF PROOF, REASONABLE
DOUBT

       The indictment or formal charge against a defendant is not evidence of guilt.

Indeed, each defendant is presumed by the law to be innocent. Each defendant begins

with a clean slate. The law does not require a defendant to prove his innocence or produce

any evidence at all and no inference whatever may be drawn from the election of a

defendant not to testify.

       The government has the burden of proving a defendant guilty beyond a reasonable

doubt, and if it fails to do so, you must acquit the defendant. While the government’s

burden of proof is a strict or heavy burden, it is not necessary that the defendant's guilt be

proved beyond all possible doubt. It is only required that the government’s proof exclude

any “reasonable doubt” concerning the defendant’s guilt.

       A “reasonable doubt” is a doubt based upon reason and common sense after careful

and impartial consideration of all the evidence in the case. Proof beyond a reasonable

doubt, therefore, is proof of such a convincing character that you would be willing to rely

and act upon it without hesitation in making the most important decisions of your own

affairs.

EVIDENCE - EXCLUDING WHAT IS NOT EVIDENCE

       As I told you earlier, it is your duty to determine the facts. To do so, you must

consider only the evidence presented during the trial. Evidence is the sworn testimony of

the witnesses, including stipulations, and the exhibits.        The questions, statements,

objections, and arguments made by the lawyers are not evidence.
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       The function of the lawyers is to point out those things that are most significant or

most helpful to their side of the case, and in so doing to call your attention to certain facts

or inferences that might otherwise escape your notice. In the final analysis, however, it is

your own recollection and interpretation of the evidence that controls in the case. What

the lawyers say is not binding upon you.

       During the trial I sustained objections to certain questions and exhibits. You must

disregard those questions and exhibits entirely. Do not speculate as to what the witness

would have said if permitted to answer the question or as to the contents of an exhibit.

Your verdict must be based solely on the legally admissible evidence and testimony.

       Also, do not assume from anything I may have done or said during the trial that I

have any opinion concerning any of the issues in this case. Except for the instructions to

you on the law, you should disregard anything I may have said during the trial in arriving

at your own verdict.

EVIDENCE – INFERENCES – DIRECT AND CIRCUMSTANTIAL

       In considering the evidence, you are permitted to draw such reasonable inferences

from the testimony and exhibits as you feel are justified in the light of common experience.

In other words, you may make deductions and reach conclusions that reason and common

sense lead you to draw from the facts which have been established by the evidence.

       Do not be concerned about whether evidence is “direct evidence” or “circumstantial

evidence.” You should consider and weigh all of the evidence that was presented to you.

       “Direct evidence” is the testimony of one who asserts actual knowledge of a fact,

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such as an eyewitness. “Circumstantial evidence” is proof of a chain of events and

circumstances indicating that something is or is not a fact.

       The law makes no distinction between the weights to be given either direct or

circumstantial evidence. But the law requires that you, after weighing all of the evidence,

whether direct or circumstantial, be convinced of the guilt of the defendant beyond a

reasonable doubt before you can find him guilty.

CREDIBILITY OF WITNESSES

       I remind you that it is your job to decide whether the government has proved the

guilt of the defendant beyond a reasonable doubt. In doing so, you must consider all of

the evidence. This does not mean, however, that you must accept all of the evidence as

true or accurate.

       You are the sole judges of the credibility or “believability” of each witness and the

weight to be given to the witness’s testimony. An important part of your job will be

making judgments about the testimony of the witnesses who testified in this case. You

should decide whether you believe all, some part, or none of what each person had to say,

and how important that testimony was. In making that decision I suggest that you ask

yourself a few questions: Did the witness impress you as honest? Did the witness have

any particular reason not to tell the truth? Did the witness have a personal interest in the

outcome of the case? Did the witness have any relationship with either the government or

the defense? Did the witness seem to have a good memory? Did the witness clearly see

or hear the things about which he or she testified? Did the witness have the opportunity

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and ability to understand the questions clearly and answer them directly?           Did the

witness’s testimony differ from the testimony of other witnesses? These are a few of the

considerations that will help you determine the accuracy of what each witness said.

       Your job is to think about the testimony of each witness you have heard and decide

how much you believe of what each witness had to say. You will always bear in mind

that the law never imposes upon a defendant in a criminal case the burden or duty of calling

any witnesses or producing any evidence.

IMPEACHMENT BY PRIOR CONVICTION

       You have been told that some witnesses were previously convicted of crimes. A

conviction is a factor you may consider in deciding whether to believe that witness, but it

does not necessarily destroy the witness’s credibility. It has been brought to your attention

only because you may wish to consider it when you decide whether you believe the

witness’s testimony. It is not evidence of anything else.

ACCOMPLICE – CO-DEFENDANT – PLEA AGREEMENT

       In this case the government called a number of witnesses who were alleged

accomplices, named as co-defendants in the Indictment or in other indictments, a n d

with whom the government has entered into plea agreements. Some provide for non-

binding recommendations for more favorable sentences than the witnesses might otherwise

receive. Such plea bargaining, as it is called, has been approved as lawful and proper,

and is expressly provided for in the rules of this court.

       An alleged accomplice, including one who has entered into a plea agreement

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with the government, is not prohibited from testifying.          On the contrary, the

testimony of such a witness may alone be of sufficient weight to sustain a verdict of

guilty. You should keep in mind that such testimony is always to be received with caution

and weighed with great care.        You should never convict a defendant upon the

unsupported testimony of an alleged accomplice unless you believe that testimony beyond

a reasonable doubt.

       The fact that an accomplice has entered a plea of guilty to the offense charged is

not evidence of the guilt of any other person.

WITNESS’S USE OF ADDICTIVE DRUGS

       The testimony of a witness who is shown to have used addictive drugs during the

period of time about which the witness testified must always be examined and weighed by

the jury with greater care and caution than the testimony of ordinary witnesses. You

should never convict any defendant upon the unsupported testimony of such a witness

unless you believe that testimony beyond a reasonable doubt.

EXPERT OPINION TESTIMONY

       During the trial you heard the testimony of individuals who expressed opinions

concerning various fields.    This includes the testimony of the following witnesses:

Michelle Cazes Olinde and Rebecca Mullen, who both expressed opinions about firearm

and toolmark examination and identification; Dr. Charles Kokes, Dr. Errington Thompson,

and Dr. Terry Welke, who all expressed opinions about medical conclusions they reached;

Anthony Herrera, who expressed opinions about controlled substances, narcotics

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investigative techniques, and the language and vernacular used by drug traffickers; and

Cheryl Szkudlarek, who expressed opinions about drug identification and analysis. If

scientific, technical, or other specialized knowledge might assist the jury in understanding

the evidence or in determining a fact in issue, a witness qualified by knowledge, skill,

experience, training, or education may testify and state an opinion concerning such matters.

       Merely because such a witness has expressed an opinion does not mean, however,

that you must accept this opinion. You should judge such testimony like any other

testimony. You may accept it or reject it and give it as much weight as you think it

deserves, considering the witness’s education and experience, the soundness of the reasons

given for the opinion, and all other evidence in the case.

NOT ALL EVIDENCE, NOT ALL WITNESSES NEEDED

       Although the government is required to prove a defendant guilty beyond a

reasonable doubt, the government is not required to present all possible evidence related to

the case or to produce all possible witnesses who might have some knowledge or facts of

the case. In addition, as I have explained, the defendants are not required to present any

evidence or produce any witnesses.

NUMBER OF WITNESSES CALLED IS NOT CONTROLLING

       Your decision on the facts of this case should not be determined by the number of

witnesses testifying for or against a party.      You should consider all the facts and

circumstances in evidence to determine which of the witnesses you choose to believe or

not believe. You may find that the testimony of a smaller number of witnesses on one

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side is more credible than the testimony of a greater number of witnesses on the other side.

ON OR ABOUT

       You will note that the indictment charges that the offense was committed on or

about a specified date. The government does not have to prove that the crime was

committed on that exact date, so long as the government proves beyond a reasonable doubt

that the defendant committed the crime on a date reasonably near the date stated in the

indictment.

VENUE – CONSPIRACY

       The events presented at trial happened in various places. There is no requirement

that the entire conspiracy take place in the Eastern District of Texas, but in order for you

to return a guilty verdict, the government must prove by a preponderance of the evidence

that either the agreement or an overt act took place in this district, even if the defendant

never set foot in the district. An overt act is an act performed to affect the object of a

conspiracy, although it remains separate and distinct from the conspiracy itself. Though

the overt act need not be of a criminal nature, it must be done in furtherance of the object

of the conspiracy.

       Unlike the other elements of the offense, this is a fact that the government has to

prove only by a preponderance of the evidence. This means the government has to

convince you only that it is more likely than not that part of the conspiracy took place in

the Eastern District of Texas. All other elements of the offense must be proved beyond a

reasonable doubt. You are instructed that Liberty, Orange, Rusk, Hardin, Smith, Bowie,

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and Jefferson Counties are located in the Eastern District of Texas.

CAUTION - CONSIDER ONLY CRIMES CHARGED

       You are here to decide whether the government has proved beyond a reasonable

doubt that a defendant is guilty of the crimes charged. Each defendant is not on trial for

any offense not alleged in the indictment. Neither are you called upon to return a verdict

as to the guilt of any other person or persons not on trial as a defendant in this case, except

as you are otherwise instructed. Whether anyone else should be prosecuted and convicted

for the particular crimes charged in the indictment is not a proper matter for you to consider.

The possible guilt of others is no defense to a criminal charge. Your job is to decide if the

government has proved a defendant guilty. Do not let the possible guilt of others influence

your decision in any way.

MULTIPLE DEFENDANTS – MULTIPLE COUNTS

       A separate crime is charged against one or more of the defendants in each count of

the Indictment. Each count, and the evidence pertaining to it, should be considered

separately. The case of each defendant should be considered separately and individually.

The fact that you may find one of the accused guilty or not guilty of any of the crimes

charged should not control your verdict as to any other crime or the other defendant. You

must give separate consideration to the evidence as to each defendant.

CAUTION - PUNISHMENT

       If a defendant is found guilty, it will be my duty to decide what the punishment will

be. You should not be concerned with punishment in any way. It should not enter your

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consideration or discussion.

CONFESSION – STATEMENT – VOLUNTARINESS

       In determining whether any statement, claimed to have been made by a defendant

outside of court and after an alleged crime was committed, was knowingly and voluntarily

made, you should consider the evidence concerning such a statement with caution and great

care. You should give such weight to the statement as you feel it deserves under all the

circumstances.

       You may consider in that regard such factors as the age, sex, training, education,

occupation, and physical and mental condition of the defendant, his treatment while under

interrogation, and all the other circumstances in evidence surrounding the making of the

statement.

       Any such statement should not be considered in any way whatsoever as evidence

with respect to any other defendant on trial.

IDENTIFICATION TESTIMONY

       In any criminal case the government must prove not only the essential elements of

the offense or offenses charged, as hereafter defined, but must also prove, beyond a

reasonable doubt, the identity of the defendant as the perpetrator of the alleged offenses.

       In evaluating the identification testimony of a witness, you should consider all of

the factors already mentioned concerning your assessment of the credibility of any witness

in general, and should also consider whether the witness had an adequate opportunity to

observe the person in question at the time or times about which the witness testified. You

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may consider all matters, including the length of time the witness had to observe the person

in question, the prevailing conditions at that time in terms of visibility or distance and the

like, and whether the witness had known or observed the person at earlier times.

       You may also consider the circumstances surrounding the identification itself

including, for example, the manner in which the defendant was presented to the witness for

identification and the length of time that elapsed between the incident in question and the

next opportunity the witness had to observe the defendant.

       If, after examining all of the testimony and evidence in the case, you have a

reasonable doubt as to the identity of the defendant as the perpetrator of the offense

charged, you must find the defendant not guilty.

“KNOWINGLY” – TO ACT

       The word “knowingly,” as that term has been used from time to time in these

instructions, means that the act was done voluntarily and intentionally, not because of

mistake or accident.

“WILLFULLY” – TO ACT

       The word “willfully,” as that term has been used from time to time in these

instructions, means that the act was committed voluntarily and purposely, with the specific

intent to do something the law forbids; that is to say, with bad purpose either to disobey or

disregard the law.

TRANSCRIPT OF RECORDED CONVERSATION

       Some exhibits were identified as typewritten transcripts of the oral conversations

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heard on the recording received as other exhibits. The transcripts also purport to identify

the speakers engaged in such conversation.

       I have admitted the transcripts for the limited and secondary purpose of aiding you

in following the content of the conversation as you listen to the recording, and also to aid

you in identifying the speakers.

       You are specifically instructed that whether a transcript correctly or incorrectly

reflects the content of the conversation or the identity of the speakers is entirely for you to

determine based upon your own evaluation of the testimony you have heard concerning the

preparation of the transcript, and from your own examination of the transcript in relation

to your hearing of the tape recording itself as the primary evidence of its own contents;

and, if you should determine that the transcript is in any respect incorrect or unreliable, you

should disregard it to that extent. It is what you hear on the recording that is evidence,

not the transcripts.

SUMMARIES AND CHARTS NOT RECEIVED IN EVIDENCE

       Certain charts and summaries have been shown to you solely as an aid to help

explain the facts disclosed by evidence (testimony, books, records, and other documents)

in the case. These charts and summaries are not admitted evidence or proof of any facts.

You should determine the facts from the evidence that has been admitted.

SUMMARIES AND CHARTS RECEIVED IN EVIDENCE PURSUANT TO
FEDERAL RULE OF EVIDENCE 1006

       Certain charts and summaries of other records have been received into evidence.

They should be considered like any other evidence in the case. You should give them
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only such weight as you think they deserve.

       The charts and summaries include inferences or conclusions drawn from the records

and testimony underlying them.       It is up to you to determine if these inferences or

conclusions are accurate. The underlying records are the best evidence of what occurred.

SUMMARY WITNESS TESTIMONY AND CHARTS BASED ON OTHER
EVIDENCE

       Summary testimony by Kevin Hunt and charts or summaries prepared or relied upon

by the witness have been received for the purpose of explaining facts disclosed by

testimony and exhibits which are also in evidence in this case.      If you find that such

summary testimony and charts or summaries correctly reflect the other evidence in the

case, you may rely upon them. But if, and to the extent that you find, they are not in truth

summaries of the evidence in the case, you are to disregard them. The best evidence of

what occurred are the underlying records and testimony themselves.

ADMISSION OF JUDGMENT OF CONVICTION

       A copy of Brandon Fritts’s judgment of conviction for attempted murder was

admitted into evidence.    I instruct you that a judgment of conviction alone does not

establish that any defendant committed a racketeering act, but I further instruct you that

you may consider that judgment of conviction along with other evidence in determining

whether a defendant agreed that he or another Aryan Circle member would commit two or

more racketeering acts. At all times, the government retains the burden of proving its

case beyond a reasonable doubt.


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DEFENDANT’S INCARCERATION

       You have heard during the course of this trial that the defendants have been

incarcerated at various times.   You should not consider the fact that a defendant was

incarcerated at some point in time as evidence of guilt as to the charged offenses.




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       I will now instruct you on two legal concepts that are applicable to multiple counts

that you will consider.    These concepts are called Pinkerton liability and Aiding and

Abetting.

AIDING AND ABETTING (AGENCY) – 18 U.S.C. § 2

       The guilt of a defendant in a criminal case may be established without proof that the

defendant personally did every act constituting the offense alleged. The law recognizes

that, ordinarily, anything a person can do for himself may also be accomplished by him

through the direction of another person as his agent, or by acting in concert with, or under

the direction of another person or persons in a joint effort or enterprise.

       If another person is acting under the direction of the defendant or if the defendant

joins another person and performs acts with the intent to commit a crime, then the law

holds the defendant responsible for the acts and conduct of such other persons just as

though the defendant had committed the acts or engaged in such conduct.

       Before any defendant may be held criminally responsible for the acts of others, it is

necessary that the accused deliberately associate himself in some way with the crime and

participate in it with the intent to bring about the crime. Mere presence at the scene of a

crime and knowledge that a crime is being committed are not sufficient to establish that a

defendant either directed or aided and abetted the crime unless you find beyond a

reasonable doubt that the defendant was a participant and not merely a knowing spectator.

In other words, you may not find any defendant guilty unless you find beyond a reasonable

doubt that every element of the offense as defined in these instructions was committed by

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some person or persons, and that the defendant voluntarily participated in its commission

with the intent to violate the law.

       In this case, Count Two includes the federal aiding and abetting charge. For you

to find the defendant guilty of the crime alleged in Count Two—that is, kidnapping in aid

of racketeering—under an aiding and abetting theory, you must be convinced that the

government has proved each of the following beyond a reasonable doubt:

       First: That the offense of kidnapping in aid of racketeering was committed by some

person;

       Second: That the defendant associated with the criminal venture;

       Third: That the defendant purposefully participated in the criminal venture; and

       Fourth: That the defendant sought by action to make that venture successful.

       “To associate with the criminal venture” means that the defendant shared the

criminal intent of the principal. This element cannot be established if the defendant had

no knowledge of the principal’s criminal venture. “To participate in the criminal venture”

means that the defendant engaged in some affirmative conduct designed to aid the venture

or assist the principal of the crime. You may find a defendant guilty based on this theory

on Count Two. This theory is not applicable to Count One or Count Three.




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CONSPIRATOR’S LIABILITY FOR SUBSTANTIVE COUNT [PINKERTON]

      A conspirator is responsible for offenses committed by another conspirator if the

conspirator was a member of the conspiracy when the offense was committed and if the

offense was committed in furtherance of, and as a foreseeable consequence of, the

conspiracy.

      Therefore, if you have first found the defendant guilty of engaging in a conspiracy,

and if you find beyond a reasonable doubt that during the time the defendant was a member

of that conspiracy, another conspirator or other conspirators committed the offense in

Count Two, both in furtherance of and as a foreseeable consequence of that conspiracy,

then you may find the defendant guilty of Count Two, even though the defendant may not

have participated in any of the acts which constitute the offense described in Count Two.




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RACKETEERING CONSPIRACY - 18 U.S.C. § 1962(D) - COUNT ONE

THE NATURE OF THE OFFENSE CHARGED

       Beginning in or about 2010, and continuing through on or about July 8, 2021, in the

Eastern District of Texas, and elsewhere, the defendants, William Glenn Chunn, a/k/a “Big

Head,” and Jesse Paul Blankenship, a/k/a “JP,” being persons employed by and/or

associated with the Aryan Circle, an enterprise engaged in, and the activities of which

affected, interstate and foreign commerce, together with others known and unknown to the

Grand Jury, did knowingly and intentionally conspire to violate 18 U.S.C. § 1962(c), that

is, to conduct and participate, directly and indirectly, in the conduct of the affairs of the

enterprise through a pattern of racketeering activity, as defined in 18 U.S.C. §§ 1961(1)

and (5), consisting of multiple:

              a.      Acts involving murder, in violation of Alabama Criminal Code,

Arkansas Code, Kentucky Revised Statues, Louisiana Revised Statutes, Mississippi Code,

Missouri Revised Statutes, New Jersey Revised Statutes, Texas Penal Code, and Virginia

Criminal Code;

              b.      Acts involving kidnapping, in violation of Missouri Revised Statutes;

              c.      Offenses involving trafficking in controlled substances, in violation

of Sections 841(a)(1), 846, and 843 of Title 21, United States Code;

              d.      Acts indictable under Title 18, United States Code, Section 1503

(relating to obstruction of justice);



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              e.     Acts indictable under Title 18, United States Code, Section 1512

(relating to tampering with a witness, victim, or an informant); and

              f.     Acts indictable under Title 18, United States Code, Section 1513

(relating to retaliating against a witness, victim, or an informant).

       All in violation of Title 18, U.S.C. Section 1962(d).

THE STATUTE DEFINING THE OFFENSE CHARGED – COUNT ONE

       Section 1962(d) of Title 18 of the United States Code, commonly known as RICO

conspiracy, provides that:

       It shall be unlawful for any person to conspire to violate any of the provisions
       of subsections of this section.

       Section 1962(c) of Title 18 of the United States Code provides, in part, that:

       It shall be unlawful for any person employed by or associated with any
       enterprise engaged in, or the activities of which affect, interstate or foreign
       commerce, to conduct or participate, directly or indirectly, in the conduct
       of such enterprise’s affairs through a pattern of racketeering activity.

RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT –
PREJUDICE FROM THE WORD “RACKETEERING”

       The word “racketeering” has certain implications in our society. Use of that term

in this statute and in this courtroom should not be regarded as having anything to do with

your determination of whether the guilt of this defendant has been proven. The term is

only a term used by Congress to describe the statute.




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THE ESSENTIAL ELEMENTS OF THE OFFENSE CHARGED – COUNT ONE

      In order to sustain its burden of proof for the crime of RICO conspiracy as charged

in Count One of the Indictment, the government must prove the defendant knowingly

agreed that a conspirator, which may include the defendant himself, would commit a

violation of Title 18, United States Code, Section 1962. In order to convict a defendant

of RICO conspiracy based on an agreement to violate § 1962, the government must prove

the following five (5) essential elements beyond a reasonable doubt:

      First:        The criminal enterprise as alleged in the Indictment, the Aryan Circle,

                    was, or would be, established;

      Second:       The enterprise was or would be engaged in, or its activities affected

                    or would affect, interstate or foreign commerce;

      Third:        A defendant knowingly agreed that a conspirator was or would be

                    employed by or associated with the enterprise;

      Fourth:       The defendant knowingly agreed that a conspirator did or would

                    conduct or participate in, either directly or indirectly, the conduct of

                    the affairs of the enterprise; and

      Fifth:        The defendant knowingly agreed that a conspirator did or would

                    knowingly participate in the conduct of the affairs of the enterprise

                    through a pattern of racketeering activity, as described in the

                    Indictment; that is, a conspirator did or would commit at least two acts

                    of racketeering activity.

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CONSPIRACY – DEFINED – COUNT ONE

       A “conspiracy” is a combination or agreement of two or more persons to join

together to attempt to accomplish some unlawful purpose. It is a kind of “partnership in

criminal purpose” in which each member becomes the agent of every other member. The

gist or essence of the offense is a combination or mutual agreement by two or more persons

to disobey, or disregard, the law.

       The evidence in the case need not show that the alleged members of the conspiracy

entered into any express or formal agreement; or that they directly stated between

themselves the details of the scheme and its object or purpose, or the precise means by

which the object or purpose was to be accomplished. Similarly, the evidence in the case

need not establish that all the means or methods set forth in the Indictment were in fact

agreed upon to carry out the alleged conspiracy, or that all of the means or methods which

were agreed upon were actually used or put into operation. Neither must it be proved that

all of the persons charged to have been members of the conspiracy were such, nor that the

alleged conspirators actually succeeded in accomplishing their unlawful objectives.

Neither is it necessary for the government to prove any of the overt acts listed in the First

Superseding Indictment.

       What the evidence in the case must show beyond a reasonable doubt is:

       (1)    That two or more persons in some way or manner, positively or tacitly, came

              to a mutual understanding to try to accomplish a common unlawful plan, as

              charged in the First Superseding Indictment; and

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       (2)      That the defendant willfully became a member of such conspiracy.

       One may become a member of a conspiracy without full knowledge of all of the

details of the unlawful scheme or the names and identities of all of the other alleged

conspirators.

       So, if a defendant, with an understanding of the unlawful character of a plan,

knowingly and willfully joins in an unlawful scheme on one occasion, that is sufficient to

convict him for conspiracy even though he had not participated at earlier stages in the

scheme and even though he played only a minor part in the conspiracy.

       Of course, mere presence at the scene of an alleged transaction or event, or mere

similarity of conduct among various persons and the fact that they may have associated

with each other, and may have assembled together and discussed common aims and

interests, does not necessarily establish proof of the existence of a conspiracy. Also, a

person who has no knowledge of a conspiracy, but who happens to act in a way which

advances some object or purpose of a conspiracy, does not thereby become a conspirator.

       In your consideration of the conspiracy offense as alleged in the Indictment you

should first determine, from all of the testimony and evidence in the case, whether or not

the conspiracy existed as charged. If you conclude that a conspiracy did exist as alleged,

you should next determine whether or not a defendant willfully became a member of such

conspiracy.

       If and when it does appear beyond a reasonable doubt from the evidence in the case

that a conspiracy did exist as charged, and that a defendant was a member, then the
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statements and acts knowingly made and done during such conspiracy and in furtherance

of its objects, by another proven member of the conspiracy, may be considered by the jury

as evidence against the defendant under consideration even though he was not present to

hear the statement made or see the act done.

       This is true because, as stated earlier, a conspiracy is a kind of “partnership” so that

under the law each member is an agent or partner of every other member and each member

is bound by or responsible for the acts and the statements of every other member made in

pursuance of their unlawful scheme.

ENTERPRISE – DEFINED – COUNT ONE

I will now instruct you on the law applicable to each of the RICO Conspiracy elements.

       The first element requires the government to prove beyond a reasonable doubt that

an enterprise existed or would exist as alleged in the First Superseding Indictment. The

First Superseding Indictment alleges that the Aryan Circle, (“AC”), is an enterprise as

defined by 18 U.S.C 1961(4).        As used in these instructions, the term “enterprise”

“includes any individual, partnership, corporation, association, or other legal entity, and

any union or group of individuals associated in fact though not a legal entity.

       The term “enterprise” as used in these instructions may include a group of

individuals associated in fact, even though this association is not recognized as a legal

entity. Thus, an enterprise need not be a formal business entity such as a corporation, but

may be merely an informal association of individuals. A group or association of people



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can be an “enterprise” if these individuals have “associated together for a common purpose

of engaging in a course of conduct.”

       The government must prove an association-in-fact enterprise existed or would exist

by evidence of an ongoing organization, formal or informal, and by evidence that the

various associates functioned as a continuing unit. The enterprise must have the three

following structural features: (1) a purpose; (2) relationships among those associated with

the enterprise; and (3) longevity sufficient to permit these associates to pursue the

enterprise’s purpose.

       It is not necessary that the enterprise have any particular or formal structure, but it

must have sufficient organization that its members did or would function and operate in a

coordinated manner in order to carry out the alleged common purpose or purposes of the

enterprise. Such a group need not have a hierarchical structure or a chain of command;

members of the group need not have fixed roles; different members may perform different

roles at different times.   The group need not have a name, regular meetings, dues,

established rules and regulations, disciplinary procedures, or induction or initiation

ceremonies.    It also need not have a unique modus operandi, professionalism and

sophistication of organization, diversity and complexity of crimes, uncharged or additional

crimes aside from predicate acts, an internal discipline mechanism, or an enterprise name.

       While the group must function as a continuing unit and remain in existence long

enough to pursue a course of conduct, you may nonetheless find that the enterprise element



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is satisfied by finding a group whose associates engage in spurts of activity punctuated by

periods of inactivity.

       Moreover, an enterprise is not required to be business-like in its form or function,

and it may, but need not, have an economic or profit-seeking motive. Indeed, RICO is not

limited to groups whose crimes are sophisticated, diverse, complex, or unique.

       Such an association may retain its status as an “enterprise” even though the

membership of the association changes over time by adding or losing individuals during

the course of its existence. The existence of the enterprise continues even if there is a gap

or interruption of the enterprise’s racketeering activities.

       Although the existence of an enterprise is a distinct element that must be proved by

the government, it is not necessary to find that the enterprise had some function wholly

unrelated to the racketeering activity. Common sense dictates that the existence of an

association-in-fact enterprise is oftentimes more readily proven by what it does rather than

by an abstract analysis of its structure. Therefore, you may consider proof of racketeering

acts to determine whether the evidence establishes the existence of the charged enterprise,

and, further, you may infer the existence of the enterprise from evidence of the pattern of

racketeering activity.

       The term “enterprise” includes legitimate and illegitimate enterprises.           An

enterprise can be a vehicle used by a defendant to commit crimes.




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“ENGAGED IN, OR AFFECTING INTERSTATE OR FOREIGN COMMERCE” –
DEFINED – COUNT ONE

       The second element the government must prove beyond a reasonable doubt is that

the RICO enterprise was or would be engaged in, or its activities affected or would affect,

interstate or foreign commerce. Interstate commerce means trade, or business, or travel

between the states, territories, and possessions of the United States, and foreign commerce

means such trade, business, or travel between the United States and another country. The

phrase “engaged in, or the activities of which affect, interstate commerce,” as used in these

instructions, means to be involved in or to affect in some way trade, or business, or travel

between the states.      Therefore, interstate and foreign commerce may include the

movement of money, goods, services, or persons from one state to another state or the

District of Columbia or between the United States and another country. This may include,

among other matters, the purchase or sale of goods or supplies from outside the United

States or the state in which the enterprise was located, the use of interstate or international

mail or wire facilities, or the causing of any of those things.

       An enterprise “is generally ‘engaged in commerce’ when it is itself directly engaged

in the production, distribution or acquisition of goods or services in interstate commerce.”

If you find that the evidence is sufficient to prove that the enterprise was or would be

“engaged in,” interstate commerce or foreign commerce, the required nexus to interstate or

foreign commerce is established, and therefore the government is not required to prove the

alternative that the activities of the enterprise affected or would affect interstate or foreign


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commerce.

       Regarding that alternative method of satisfying this element, to establish the

requisite effect on interstate or foreign commerce, the government is not required to prove

a significant or substantial effect on interstate or foreign commerce. Rather, a minimal

effect on interstate or foreign commerce is sufficient.          It is not necessary for the

government to show that the defendant actually intended or anticipated an effect on

interstate commerce. It is not necessary for the government to prove that individual acts

of racketeering themselves affected interstate commerce; rather, all that is necessary is that

the enterprise and its activities affected interstate commerce, no matter how minimally.

The effect must be considered in its entirety, but this effect on interstate commerce may be

established through the effect caused by the individual racketeering acts.

       The government contends that the enterprise in this case was or would be engaged

in, or its activities affected or would affect, interstate or foreign commerce, in the following

ways, among others:

       •   The distribution of controlled substances;

       •   The use of interstate facilities to attempt to commit murders;

       •   The use of interstate wires to send money to incarcerated enterprise members,

           and to make emails and phones calls between and among enterprise members;

           and

       •   The use of firearms which traveled in interstate commerce.



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      The government is not required to prove all the circumstances outlined above. To

satisfy this element, the government need only prove beyond a reasonable doubt that the

activities of the enterprise considered in their entirety had or would have some minimal

effect on interstate or foreign commerce, or that the enterprise was or would be “engaged

in” interstate or foreign commerce.

      It is not necessary for the government to prove that the defendant knew or intended

that the enterprise was engaged in commerce or that its conduct would affect commerce.

It is only necessary that the natural consequences of the enterprise’s conduct affected

commerce in some way. Only a minimal effect on commerce is necessary.




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“DEFENDANT WAS EMPLOYED BY OR ASSOCIATED WITH THE
ENTERPRISE” – COUNT ONE

       The third element the government must prove beyond a reasonable doubt is that the

defendant was or would be “employed by” or was “associated with” the enterprise. The

government need not prove both; either “employed by” or “associated with” is sufficient

to establish this element.

       The term “employed by” should be given its common, plain meaning. Thus, a

person is “employed by” an enterprise when, for example, he is on the payroll of the

enterprise and performs services for the enterprise, holds a position in the enterprise, or has

an ownership interest in the enterprise.

       “Associated with” also should be given its plain meaning. As stated in Webster’s

Third New International Dictionary (1971 ed.), to “associate” means “to join, often in a

loose relationship as a partner, fellow worker, colleague, friend, companion or ally . . . To

join or connect with one another.” Therefore, a person is “associated with” an enterprise

when, for example, he joins with other members of the enterprise and he knowingly aids

or furthers the activities of the enterprise, or he conducts business with or through the

enterprise.

       It is not required that each defendant agree that any particular conspirator was or

would be “employed by” or “associated with” the enterprise for the entire time the

enterprise existed. The government also is not required to prove that a defendant agreed

that any particular conspirator had a formal position in the enterprise, or participated in all


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the activities of the enterprise, or had full knowledge of all the activities of the enterprise,

or knew about the participation of all the other members of the enterprise. Rather, it is

sufficient that the government prove beyond a reasonable doubt that at some time during

the existence of the enterprise as alleged in the First Superseding Indictment, a conspirator

was or would be “employed by” or “associated with” the enterprise within the meaning of

those terms as I have just explained and that he knew or would know of the general nature

of the enterprise, and knew or would know that the enterprise extended beyond his own

role in the enterprise.

“CONDUCT, OR PARTICIPATE IN THE CONDUCT OF, THE AFFAIRS OF THE
ENTERPRISE” – COUNT ONE

       The fourth element the government must prove beyond a reasonable doubt is that a

defendant agreed that a conspirator would conduct, or participate in the conduct of, the

affairs of the enterprise. A defendant may be convicted of RICO conspiracy even if he

did not personally participate in the operation or management of the enterprise when the

evidence establishes that the defendant knowingly agreed to facilitate a scheme which, if

completed, would constitute a RICO substantive violation involving at least one

conspirator who would participate in the operation or management of the enterprise.

       Such proof of operation and management may include evidence that the defendant

agreed that a conspirator would intentionally perform acts, functions or duties which are

necessary to, or helpful in, the operation of the enterprise, or that a conspirator had some

part in directing the enterprise’s affairs. However, the government need not prove that the


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conspirator would exercise significant control over or within the enterprise, or that he had

a formal position in the enterprise, or that he had primary responsibility for the enterprise’s

affairs. Rather, an enterprise is operated not just by upper management but also by lower-

rung participants in the enterprise who are under the direction of upper management” or

carry out upper management’s orders. An enterprise also might be operated or managed

by one who exerts control over the enterprise.

“PATTERN OF RACKETEERING ACTIVITY” – COUNT ONE

          As I previously stated, the agreement to commit a RICO offense is the essential

aspect of a RICO conspiracy offense. The fifth element the government must prove

beyond a reasonable doubt is that a defendant agreed that a conspirator would engage in a

pattern of racketeering. A pattern of racketeering activity requires at least two acts of

racketeering, the last of which occurred within ten years after the commission of a prior act

of racketeering, excluding any period of imprisonment.           To establish a “pattern of

racketeering activity” as alleged in Count One of the First Superseding Indictment, the

government must prove three elements beyond a reasonable doubt:

 First:        The defendant agreed that a conspirator, which could include the defendant

               himself, did or would intentionally commit, or cause to be committed, or aid

               and abet the commission of, two or more of the racketeering acts of the type

               or types alleged in the First Superseding Indictment. that is, acts involving

               murder in violation of various state laws; acts involving kidnapping in



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           violation of Missouri state law; offenses involving trafficking in controlled

           substance in violation of Title 21, United States Code, Sections 841(1), 846,

           and 843; and acts indictable under Title 18, United States Code, Sections

           1503 (obstruction of justice), 1512 (tampering with a witness, victim or an

           informant) and 1513 (retaliating against a witness, victim or an informant).

           Your verdict must be unanimous as to which type or types of racketeering

           activity you find that the defendant agreed was or would be committed,

           caused, or aided and abetted. At the end of this instruction, I will instruct

           you on the elements regarding each of the charged types of racketeering

           activity.

 Second:   The racketeering activity must have a “nexus” to the enterprise and the

           racketeering activity must have been “related.” Racketeering activity has a

           “nexus” to the enterprise if it has a meaningful connection to the enterprise.

           To be “related,” the racketeering activity had or would have the same or

           similar purposes, results, participants, victims, or methods of commission, or

           be otherwise interrelated by distinguishing characteristics and not be merely

           isolated events. Two racketeering acts of the type or types of racketeering

           activity described in the First Superseding Indictment may or would be

           “related” even though they are dissimilar or not directly related to each other,

           provided that the racketeering acts are or would be related to the same



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           enterprise. For example, for both “nexus” and “relatedness” purposes, the

           requisite relationship between the RICO enterprise and a racketeering act may

           or would be established by evidence that the defendant was or would be

           enabled to commit the racketeering act solely by virtue of his position in the

           enterprise or involvement in or control over its affairs, or by evidence that the

           defendant’s position in the enterprise would facilitate his commission of the

           racketeering acts, or by evidence that the racketeering acts would benefit the

           enterprise, or by evidence the racketeering acts would promote or further the

           purposes of the enterprise.

 Third:    The racketeering acts must have extended over a substantial period of time,

           or they posed or would pose a threat of continued criminal activity. The

           government need not prove such a threat of continuity by any mathematical

           formula or by any particular method of proof, but rather may prove it in a

           variety of ways. For example, the threat of continued unlawful activity may

           or would be established if the evidence shows that the racketeering acts are

           part of a long-term association that exists for criminal purposes, or when the

           racketeering acts are or would be shown to be the regular way of conducting

           the affairs of the enterprise.       Moreover, in determining whether the

           government has proven the threat of continued unlawful activity, you are not

           limited to consideration of the specific racketeering acts or types of



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             racketeering activity charged against the defendant; rather, in addition to

             considering such activity you may also consider the nature of the enterprise,

             and other unlawful activity of the enterprise and its members viewed in their

             entirety, including both charged and uncharged unlawful activities.

             Moreover, in order to convict the defendant of RICO conspiracy, the jury’s

             verdict must be unanimous as to which type or types of predicate racketeering

             activity the defendant agreed would be committed; for example, at least two

             acts of drug trafficking, two acts involving murder, or any combination

             thereof (i.e., one act of drug trafficking and one act involving murder).

       The First Superseding Indictment, paragraph 6, alleges that the defendants agreed

that a conspirator would commit multiple acts of different types of racketeering activity.

That paragraph alleges acts involving murder and kidnapping as types of racketeering

activity. Such acts include inchoate forms of murder and kidnapping, including attempted

murder or kidnapping, conspiracy to commit murder or kidnapping, and solicitation to

commit murder or kidnapping, as well as substantive murder or kidnapping. The alleged

racketeering acts involving murder are alleged to be in violation of the laws of the states of

Alabama, Arkansas, Kentucky, Louisiana, Mississippi, Missouri, New Jersey, Texas, and

Virginia. Acts involving kidnapping are alleged to be in violation of Missouri law.

Although the elements of these crimes may be similar, there are certain differences as well.

Consequently, I will instruct you on each of these state law crimes:



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       (1)    Alabama Criminal Code § 13A-6-2 addresses murder. Under Alabama

law, a person commits murder if, with intent to cause the death of another person, he causes

the death of that person or of another person. A person acts intentionally when it is his

purpose to cause the death of another person.

       A person also commits murder under Alabama law if, under circumstances

manifesting extreme indifference to human life, he recklessly engages in conduct which

creates a grave risk of death to a person other than himself, and thereby causes the death of

another person. A person acts with extreme indifference to human life if, under the

circumstances, he recklessly engages in conduct which creates a grave risk of death to a

person other than himself. Extreme indifference to human life means demonstrating

extreme indifference to human life in general, but has no deliberate intent to kill or injure

any particular individual. A person acts recklessly in regard to his conduct if: (1) the actor

is aware that there is a substantial and unjustifiable risk that death will occur; (2) the risk

of death is so great that the actor’s failure to recognize this risk is a gross deviation from

the standard of behavior to which a reasonable person would hold himself in the same

situation; and (3) the actor consciously disregards this substantial and unjustifiable risk.

       Alabama Criminal Code § 13A-4-1 addresses criminal solicitation.                 Under

Alabama law, a person commits criminal solicitation if, with the intent that another person

engage in conduct constituting a crime, he does any of the following: (a) solicits;

(b) requests; (c) commands; or (d) importunes, which means to urge persistently, the other

person to engage in such conduct.
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         Alabama Criminal Code § 13A-4-2 addresses attempt. Under Alabama law, a

person commits attempted murder if, with the intent to commit the offense attempted, he

does any overt act towards the commission of that offense. What constitutes commission

of an overt act towards the commission of the offense of murder is for the jury to decide

under the circumstances. It requires that the person do some act directed to the eventual

carrying out of the crime. However, mere remote acts in preparation which are not

reasonably in the chain of causation leading to the completion of the crime are insufficient.

       Alabama Criminal Code § 13A-4-3 addresses criminal conspiracy.                 Under

Alabama law, a person commits criminal conspiracy if, with the intent that conduct

constituting an offense be performed, he agrees with one or more persons to engage in or

cause the performance of such conduct, and any one or more of such persons does an overt

act to effect an objective of the agreement. If a person knows or should know that one

with whom he agrees has in turn agreed or will agree with another to effect the same

criminal objective, he shall be deemed to have agreed with such other person, whether or

not he knows the other’s identity.

       (2)    Arkansas Code §§ 5-10-101, 5-10-102, and 5-10-103 address murder.

Under Arkansas law, a person commits murder if, with the premeditated and deliberated

purpose of causing the death of another person, the person causes the death of any person.

In order to find that a person acted with a premeditated and deliberated purpose, you must

find that he had the conscious object to cause death and that he formed that intention before

acting, as result of a weighing in the mind of the consequences of a course of conduct as
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distinguished from acting upon sudden impulse without the exercise of reasoning powers.

It is not necessary that this state of mind existed for any particular length of time, but it is

necessary that it was formed before the homicidal act was committed.

       A person also commits murder under Arkansas law if, with a purpose of causing the

death of another person, the person causes the death of another person. A person acts with

purpose with respect to his conduct or a result thereof when it is his conscious object to

engage in conduct of that nature or to cause such a result.

       And a person may also commit murder under Arkansas law if the person knowingly

caused the death of another person under circumstances manifesting extreme indifference

to human life or, with the purpose of causing serious physical injury to another person, the

person causes the death of any person.

       Arkansas Code § 5-2-402 addresses liability for another’s conduct. Under

Arkansas law, a person is criminally liable for the conduct of another person if (1) the

person is made criminally liable for the conduct of another person by the statute defining

the offense; (2) the person is an accomplice of another person in the commission of an

offense; or (3) acting with a culpable mental state sufficient for the commission of the

offense, the person causes another person to engage in conduct that would constitute an

offense but for a defense available to the other person.

       Arkansas Code § 5-3-202 and 5-2-403 address complicity. Under Arkansas law,

a person attempts to commit an offense if, with the purpose of aiding another person in the

commission of the offense, the person solicited, advised, or encouraged another person to
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commit the offense, or aided, agreed to aid, or attempted to aid another person in the

planning of the offense, or having a legal duty to prevent the commission of the offense,

failed to make a proper effort to do so. It is not a defense to a prosecution under this

section that: (1) the other person did not commit or attempt to commit an offense; or (2) tt

was impossible for the actor to assist the other person in the commission of the offense if

the actor could have assisted the other person had the attendant circumstances been as the

actor believed them to be.

       Arkansas Code § 5-3-401 addresses conspiracy. Under Arkansas law, a person

conspires to commit an offense if the person had the purpose of promoting or facilitating

the commission of the offense, that with that purpose, the person agreed with another

person that one or more of them would engage in conduct that constituted the offense, that

the person would aid in the planning or commission of the offense, and that the person, or

any other person with whom he conspired, did an overt act in the pursuance of the

conspiracy.

       (3)    Kentucky Revised Statutes § 507.020 addresses murder. Under Kentucky

law, a person is guilty of murder when, with intent to cause the death of another person, he

causes the death of such person or of a third person. However, a person shall not be guilty

if he acted under the influence of extreme emotional disturbance for which there was a

reasonable explanation or excuse, the reasonableness of which is to be determined from

the viewpoint of a person in the defendant’s situation under the circumstances as the

defendant believed them to be. A person acts “intentionally” under Kentucky law when
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his conscious objective is to cause that result or to engage in that conduct. A person acts

“wantonly” when he is aware of and consciously disregards a substantial and unjustifiable

risk that the result will occur or that the circumstance exists.

       A person may also be guilty of murder under Kentucky law when, under

circumstances manifesting extreme indifference to human life, a person wantonly engages

in conduct which creates a grave risk of death to another person and thereby causes the

death of another person. The risk must be of such nature and degree that disregard thereof

constitutes a gross deviation from the standard of conduct that a reasonable person would

observe in the situation. A person who creates such a risk but is unaware thereof solely

by reason of voluntary intoxication also acts wantonly with respect thereto.

       Kentucky Revised Statutes § 506.010 addresses attempt. Under Kentucky law, a

person is guilty of criminal attempt to commit a crime when, acting with the kind of

culpability otherwise required for commission of the crime, he (1) intentionally engages in

conduct which would constitute the crime if the attendant circumstances were as he

believes them to be; or (2) intentionally does or omits to do anything which, under the

circumstances as he believes them to be, is a substantial step in a course of conduct planned

to culminate in his commission of the crime. Conduct shall not be held to constitute a

substantial step unless it is an act or omission which leaves no reasonable doubt as to the

defendant’s intention to commit the crime which he is charged with attempting. A person

is guilty of criminal attempt to commit a crime when he engages in conduct intended to aid

another person to commit that crime, although the crime is not committed or attempted by
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the other person, provided that his conduct would establish complicity if the crime were

committed by the other person. Complicity as to a criminal act means that a person is

guilty of an offense committed by another person when, with the intention of promoting or

facilitating the commission of the offense, he solicits, commands, or engages in a

conspiracy with such other person to commit the offense, or aids, counsels, or attempts to

aid such person in planning or committing the offense. Complicity as to a criminal result

means that a person is guilty of an offense committed by another person when, while acting

wantonly with regards to the result of another’s conduct, he solicits, commands, or engages

in a conspiracy with such other person to engage in that conduct, or aids, counsels, or

attempts to aid such person in planning or committing such conduct. A person acts

wantonly with respect to a result or to a circumstance when he is aware of and consciously

disregards a substantial and unjustifiable risk that the result will occur or that the

circumstance exists. The risk must be of such nature and degree that disregard thereof

constitutes a gross deviation from the standard of conduct that a reasonable person would

observe in the situation.

       Kentucky Revised Statutes § 506.040 addresses criminal conspiracy. Under

Kentucky law, a person having the intention of promoting or facilitating the commission

of a crime is guilty of criminal conspiracy when he: (1) agrees with one or more persons

that at least one of them will engage in conduct constituting that crime or an attempt or

solicitation to commit such a crime; or (2) agrees to aid one or more persons in the planning

or commission of that crime or an attempt or solicitation to commit such a crime.
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       Kentucky Revised Statutes § 502.020 addresses liability for conduct of another;

complicity. A person is guilty of an offense committed by another person when, with the

intention of promoting or facilitating the commission of the offense, he: (a) solicits,

commands, or engages in a conspiracy with such other person to commit the offense; or

(b) aids, counsels, or attempts to aid such person in planning or committing the offense.

When causing a particular result is an element of an offense, a person who acts with the

kind of culpability with respect to the result that is sufficient for the commission of the

offense is guilty of that offense when he: (a) solicits or engages in a conspiracy with another

person to engage in the conduct causing such result; or (b) aids, counsels, or attempts to

aid another person in planning, or engaging in the conduct causing such result.

       (4)    Louisiana Revised Statutes § 14.30.1 addresses second degree murder.

Under Louisiana law, a second degree murder is the killing of a human being when the

offender has a specific intent to kill or to inflict great bodily harm.

       Louisiana Revised Statutes § 14.25 addresses accessories after the fact. Under

Louisiana law, an accessory after the fact is any person who, after the commission of a

felony, shall harbor, conceal, or aid the offender, knowing or having reasonable ground to

believe that he has committed the felony, and with the intent that he may avoid or escape

from arrest, trial, conviction, or punishment.

       Louisiana Revised Statutes § 14.26 addresses criminal conspiracy.                Under

Louisiana law, a person is guilty of criminal conspiracy if the person agrees with one or



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more other persons for the specific purpose of committing any crime; and one or more of

such parties does an act in furtherance of the object of the agreement.

       (5)    Mississippi Code § 97-3-19 addresses murder. Under Mississippi law, a

person commits the offense of first-degree murder when he commits a killing with the

deliberate design to effect the death of the person killed. “Deliberate design” is when a

person decides to unlawfully kill another person, and there is no legally justifiable or

excusable reason for doing so. The decision to kill a person can be formed very quickly

and may occur only moments before the actual act of killing. However, deliberate design

cannot be formed at the exact moment of the act of killing.

       A person commits the offense of second-degree murder when he commits a killing

while in the commission of an act eminently dangerous to others and evincing a depraved

heart, regardless of human life, although without any premeditated design to effect the

death of any particular individual. Acting with a depraved heart is when a person acts in

a highly dangerous way which shows that the person does not care for the safety of human

life. Even if someone does not intend to kill any particular person, he can still be guilty

of murder if he acts with a depraved heart, and a person is killed as a result.

       Mississippi Code § 97-1-7 addresses attempt. Under Mississippi law, a person

commits attempt if the person unlawfully designed, endeavored, intended, or planned to

commit the substantive crime by stabbing, an overt act towards committing murder; but

the person did not actually complete the murder or was prevented from completing the

murder because the victim did not die.
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       Mississippi Code § 97-1-1 addresses conspiracy. Under Mississippi law, a person

commits conspiracy when he agrees with one or more others and plans to commit a crime.

       Mississippi Code § 97-1-3 addresses accomplice culpability. Under Mississippi

law, a person is guilty as an accessory before the fact and is deemed a principal when he

unlawfully aided, assisted, or helped another person commit a crime; and the other person

did in fact commit the crime.

       An aider and abettor is a person who is present when a crime is committed and who

intentionally encourages or helps another person commit that crime. A defendant’s guilt

can be proven even though that defendant did not personally commit the crime charged.

The law recognizes that one person can tell or direct another person to commit a crime, and

that he will be guilty of that crime if and when it is committed by the other person. This

is called aiding and abetting. The fact that a person is present when a crime is committed

or knows that a crime is being committed is not enough evidence to prove beyond a

reasonable doubt that the defendant is guilty as an aider or abettor of the crime charged.

The evidence must prove beyond a reasonable doubt that the defendant voluntarily and

actively participated in committing the crime. In order to find the defendant guilty beyond

a reasonable doubt, you must find that another person committed each and every element

of the crime charged, and that the defendant voluntarily aided and abetted in its commission

intending to violate the law.

       (6)    Missouri Revised Statutes §§ 565.020 and 565.021 address murder.

Under Missouri law, a person commits the offense of murder in the first degree if he or she
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knowingly causes the death of another person after deliberation upon the matter.

“Knowingly” when used with respect to conduct or attendant circumstances, means a

person is aware of the nature of his or her conduct or that those circumstances exist; or,

when used with respect to a result of conduct, means a person is aware that his or her

conduct is practically certain to cause that result. “Deliberation” means cool reflection for

any length of time no matter how brief.

       Under Missouri law, a person commits the offense of murder in the second degree

if he knowingly causes the death of another person or, with the purpose of causing serious

physical injury to another person, causes the death of another person.

       Missouri Revised Statutes § 562.012 addresses attempt. Under Missouri law,

guilt for an offense may be based upon an attempt to commit an offense if, with the purpose

of committing the offense, a person performs any act which is a substantial step towards

the commission of the offense.        A “substantial step” is conduct which is strongly

corroborative of the firmness of the actor’s purpose to complete the commission of the

offense.

       Missouri Revised Statutes § 562.014 addresses conspiracy. Under Missouri law,

a person commits the offense of conspiracy to commit, in any manner or for any purpose,

an offense, if the person agrees, with one or more persons, to commit an offense, and one

or more of such persons do any act in furtherance of such an agreement. It is no defense

to a prosecution for conspiring to commit an offense that a person, who knows that a person

with whom he conspires to commit an offense has conspired with another person or persons
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to commit the same offense, does not know the identity of such other person or persons.

       Missouri Revised Statutes § 562.041 addresses responsibility for the conduct of

another. Under Missouri law, a person is criminally responsible for the conduct of another

when either before or during the commission of an offense with the purpose of promoting

the commission of an offense, he aids or agrees to aid or attempts to aid such other person

in planning, committing or attempting to commit the offense.

       (7)    New Jersey Revised Statutes §§ 2C:11-3 and 2C:5-1 address attempted

murder. Under New Jersey law, a person is guilty of an attempt to commit murder if the

person purposely engaged in conduct which was intended to cause the death of the victim,

if the attendant circumstances were as a reasonable person would believe them to be; or

did or omitted to do anything with the purpose of causing the death of the victim without

further conduct on his part; or purposely did or omitted to do anything which, under the

circumstances as a reasonable person would believe them to be, is an act or omission

constituting a substantial step in a course of conduct planned to culminate in his causing

the death of the victim.

       “Purposely” means it was the person’s conscious object to cause the death of the

victim. Whether the person’s purpose was to cause the death of the victim is a question

of fact for you to decide. Purpose is a condition of the mind which cannot be seen and

can only be determined by inference from conduct, words or acts. It is not necessary for

the government to produce a witness or witnesses who could testify that the person stated,

for example, that his purpose was to cause the death of the victim. It is within your power
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to find that proof of purpose has been furnished beyond a reasonable doubt by inference

which may arise from the nature of the acts and the surrounding circumstances. Such

things as the place where the acts occurred, the weapon used, the location, number and

nature of wounds inflicted, and all that was done or said by the person preceding, connected

with, and immediately succeeding the events are among the circumstances to be

considered. Causing the death of the victim must be within the design or contemplation

of the person. The use of a deadly weapon such as a shank in itself may permit you to

draw an inference that the person’s purpose was to take a life. A deadly weapon is any

firearm or other weapon, device, instrument, material or substance, which in the manner it

is used or is intended to be used, is known to be capable of producing death. In your

deliberations you may consider the weapon used and the manner and circumstances of the

attack, and if you are satisfied beyond a reasonable doubt that the person stabbed the victim

with a knife, you may draw an inference from the weapon used, that is the knife, and from

the manner and circumstances of the attack, as to the person’s purpose.

       New Jersey Revised Statutes § 2C: 5-2 addresses conspiracy. Under New Jersey

law, a person is guilty of conspiracy if he (1) agreed with another person or persons that

they or one or more of them would engage in conduct which constitutes a crime or an

attempt or solicitation to commit such crime, or agreed to aid another person or persons in

the planning or commission of a crime or of an attempt or solicitation to commit such a

crime; (2) that person’s purpose was to promote or facilitate the commission of the crime;



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and (3) the person or a person with whom he conspired did an overt act in pursuance of the

conspiracy. An overt act is any act in pursuance of the conspiracy.

       A conspiracy may be proven by direct or circumstantial evidence. It is not essential

that there be direct contact among all of the conspirators or that they enter the agreement

at the same time. If the person is aware that any person he conspired with also conspired

with others to commit the same crime, the person is guilty of conspiring with the others.

He need not be aware of their identity.         Mere association, acquaintance, or family

relationship with an alleged conspirator is not enough to establish a person’s guilt of

conspiracy. Nor is mere awareness of the conspiracy. Nor would it be sufficient for the

government to prove only that the person met with others, or that they discussed names

and interests in common. However, any of these factors, if present, may be taken into

consideration along with all other relevant evidence in your deliberations. You have to

decide whether the person’s purpose was that he or a person with whom he was conspiring

would commit the crime alleged.          For him to be found guilty of conspiracy, the

government has to prove beyond a reasonable doubt that when he agreed it was his

conscious object or purpose to promote or make it easier to commit the crime.

       (8)    Texas Penal Code § 19.02 addresses murder. A person commits murder if

he intentionally or knowingly causes the death of an individual. “Individual” means a

human being who is alive, including an unborn child at every stage of gestation from

fertilization until birth. A person acts intentionally, or with intent, with respect to a result

of his conduct when it is his conscious objective or desire to cause the result. A person
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acts knowingly, or with knowledge, with respect to a result of his conduct when he is aware

that his conduct is reasonably certain to cause the result.

       Texas Penal Code § 7.01 addresses the “parties of offenses.” Under Texas law, a

person is criminally responsible as a party to an offense if the offense is committed by his

own conduct, by the conduct of another for which he is criminally responsible, or by both.

Each party to an offense may be charged with the commission of the offense.

       Texas Penal Code § 7.02 addresses criminal responsibility for the conduct of

another. A person is criminally responsible for an offense committed by the conduct of

another if, acting with intent to promote or assist the commission of the offense, he solicits,

encourages, directs, aids, or attempts to aid the other person to commit the offense. Mere

presence alone will not constitute one a party to an offense. If, in the attempt to carry out

a conspiracy to commit one felony, another felony is committed by one of the conspirators,

all conspirators are guilty of the felony actually committed, though having no intent to

commit it, if the offense was committed in furtherance of the unlawful purpose and was

one that should have been anticipated as a result of the carrying out of the conspiracy.

       Texas Penal Code § 15.01 addresses criminal attempt for felonies, including

murder. Under Texas law, a person commits an attempt to commit an offense if, with

specific intent to commit an offense, he does an act amounting to more than mere

preparation that tends but fails to effect the commission of the offense intended. If a

person attempts an offense that may be aggravated, his conduct constitutes an attempt to

commit the aggravated offense if an element that aggravates the offense accompanies the
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attempt. It is no defense to prosecution for criminal attempt that the offense attempted

was actually committed.

       Texas Penal Code § 15.02 addresses conspiracy to commit a felony as one person,

acting with intent that a felony be committed: agrees with one or more person that they or

one or more of them engage in conduct that would constitute the offense; and that person

or one or more of them performs and overt act in pursuance of the agreement. An

agreement constituting a conspiracy may be inferred from acts of the parties. It is no

defense to prosecution for criminal conspiracy that: one or more of the coconspirators is

not criminally responsible for the object offense; one or more of the coconspirators has

been acquitted, so long as two or more coconspirators have not been acquitted; one or more

of the coconspirators has not been prosecuted or convicted, has been convicted of a

different offense, or is immune from prosecution; the actor belongs to a class of persons

that by definition of the object offense is legally incapable of committing the object offense

in an individual capacity; or the object offense was actually committed.

       Texas Penal Code § 15.03 addresses criminal solicitation to commit a felony.

Under Texas law, a person commits an offense if, with intent that a capital felony or felony

of the first degree be committed, he requests, commands, or attempts to induce another to

engage in specific conduct that, under the circumstances surrounding his conduct as the

actor believes them to be, would constitute the felony or make the other a party to its

commission.      A person may not be convicted of criminal solicitation on the

uncorroborated testimony of the person allegedly solicited and unless the solicitation is
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made under circumstances strongly corroborative of both the solicitation itself and the

actor's intent that the other person act on the solicitation. It is no defense to prosecution

under this section that: the person solicited is not criminally responsible for the felony

solicited; the person solicited has been acquitted, has not been prosecuted or convicted, has

been convicted of a different offense or of a different type or class of offense, or is immune

from prosecution; the actor belongs to a class of persons that by definition of the felony

solicited is legally incapable of committing the offense in an individual capacity; or the

felony solicited was actually committed.

       (9)      Virginia Criminal Code § 18.2-32 addresses murder. Under Virginia law,

a person is guilty of murder in the first degree if he commits any willful, deliberate,

premeditated and malicious killing of a human being. “Willful” generally means an act

done with a bad purpose, without justifiable excuse, or without ground for believing it is

lawful.      The term denotes an act which is intentional, knowing, or voluntary, as

distinguished from accidental. The terms “bad purpose” or without “justifiable excuse,”

necessarily imply knowledge that particular conduct will likely result in injury or illegality.

The malice necessary to constitute a crime of murder may either be express or implied.

The word “malice” is used in a technical sense, and includes not only anger, hatred, and

revenge, but every unlawful and unjustifiable motive. It is not confined to ill will to any

one or more particular persons, but is intended to denote an action flowing from a wicked

or corrupt motive, done with an evil mind and purpose and wrongful intention, where the

act has been attended with such circumstances as to carry in them the plain indication of a
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heart regardless of social duty and deliberately bent on mischief. Therefore, malice is

implied by law from any willful, deliberate, and cruel act against another, however sudden.

      Under Virginia law, murder in the second degree is the unlawful killing of a human

being with malice and without premeditation and deliberation. In order for the killing to

amount to murder in the second degree, although it is not necessary for the government to

prove willfulness, deliberation, and premeditation, it is incumbent upon the government to

prove that an individual acted with malice. A principal in the first degree is the person

who actually commits the crime. A principal in the second degree is the person who is

present, aiding and abetting, by helping in some way the commission of the crime.

Presence and consent are not sufficient to constitute aiding and abetting. It must be shown

that an individual intended his words, gestures, signals, or actions to in some way

encourage, advise, or urge, or in some way help the person committing the crime to commit

it.

      Virginia Criminal Code § 18.2-26 addresses attempt for crimes including first-

degree and second-degree murder.        “Attempt” is defined under Virginia law as a

perpetrator intending to commit a crime and taking a direct act towards the commission of

that crime. The intent required to prove an attempted crime is the specific intent in the

person’s mind to commit the particular crime for which the attempt is charged. In

determining whether the intent has been proved you may consider the conduct of the person

involved and all the circumstances revealed by the evidence. The direct act required to be

proved in an attempted crime is an act which shows a present intention to commit the crime.
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The act need not be the last act prior to the actual commission of the crime, but it must be

more than mere preparation. It is not a defense to attempted murder that a perpetrator

voluntarily withdrew before actually committing the murder or that some other person or

thing prevented the murder from being committed.

       Virginia Criminal Code § 18.2-22 addresses conspiracy to commit a felony as one

person conspiring, confederating, or combining with another to commit a felony. If you

find that the government has established beyond a reasonable doubt that an individual was

a member of a conspiracy, he is responsible for the acts of other members of that conspiracy

that are committed in furtherance of the conspiracy, even if those acts are committed

without his direct knowledge.

       (10)   Missouri Revised Statutes § 565.110 and 565.120 address kidnapping.

Under Missouri law, a person is guilty of first-degree kidnapping if he unlawfully removes

another person without his or her consent from the place where he or she is found or

unlawfully confines another person without his or her consent for a substantial period, for

the purpose of inflicting physical injury on or terrorizing the victim or another. Consent

or lack of consent may be expressed or implied. Assent does not constitute consent if it is

induced by force, duress or deception. Lack of consent results from forcible compulsion.

“Forcible compulsion” means either physical force that overcomes reasonable resistance,

or a threat, express of implied, that places a person in reasonable fear of death, serious

physical injury, or kidnapping of such person or another person. One who submits to

being confined through fear of force is kidnapped, and the actual use of force is not a
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necessary element. “Physical injury” means a slight impairment of any function of the

body or temporary loss of use of any part of the body. “Serious physical injury” means

physical injury that creates a substantial risk of death or that causes serious disfigurement

or protracted loss or impairment of the function of any part of the body. A victim is

“terrorized” when the victim is caused to feel terror or anxiety, or is coerced through threats

or violence.

       Under Missouri law, a person is guilty of second-degree kidnapping if he knowingly

restrains another unlawfully and without consent so as to interfere substantially with his or

her liberty and exposes him or her to a substantial risk of serious physical injury.

       I have already instructed you on the definitions of “knowingly,” “serious physical

injury,” and “consent,” as well as on what constitutes attempt, conspiracy, and criminal

liability for the conduct of another under Missouri law.           You should apply those

instructions here with regard to attempt and conspiracy to commit kidnapping under

Missouri law.

       It is further alleged in Count One of the Indictment, also in paragraph 6, that

trafficking in controlled substances is a type of racketeering activity that the defendants

agreed would be committed as part of the racketeering enterprise.

       (11)     Offenses involving trafficking in controlled substances are defined in

Title 21, United States Code, Sections 841(a)(1), 846, and 843. Section 841(a)(1)

makes it a crime for anyone to knowingly or intentionally to possess a controlled substance

with intent to distribute it.     Methamphetamine, marijuana, suboxone, and K2 are
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controlled substances within the meaning of the law. A person is guilty of this crime if

the government proves beyond a reasonable doubt that the person (1) knowingly possessed

a controlled substance; (2) that the substance was in fact the alleged controlled substance;

and (3) that the person possessed the substance with the intent to distribute it. To “possess

with intent to distribute” simply means to possess with intent to deliver or transfer

possession of a controlled substance to another person, with or without any financial

interest in the transaction.” You must be unanimous in determining which substance or

substances were possessed with intent to distribute to determine that a person committed

this crime.

       “Possession,” as that term is used in these instructions, may be one of two kinds:

actual possession or constructive possession. A person who knowingly has direct physical

control over a thing, at a given time, is in actual possession of it. A person who, although

not in actual possession, knowingly has both the power and the intention, at a given time,

to exercise dominion or control over a thing, either directly or through another person or

persons, is in constructive possession of it. To establish constructive possession of drugs,

the government must prove that a person had the right to exercise physical control over the

drugs, and knew that he had this right, and that he intended to exercise physical control

over the narcotics at some time, either directly or through other persons. For example, if

you left something with a friend intending to come back later and pick it up, or intending

to send someone else to pick it up for you, you would have constructive possession of it

while it was in the actual possession of your friend. Possession may be sole or joint. If
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one person alone has actual or constructive possession of a thing, possession is sole. If

two or more persons share actual or constructive possession of a thing, possession is joint.

You may find that the element of possession is present if you find beyond a reasonable

doubt that a person had actual or constructive possession, either alone or jointly with others.

       Section 843(b) makes it a crime for anyone knowingly or intentionally to use a

communication facility facilitate the commission of a controlled substances offense. A

person is guilty of this crime if the government proves beyond a reasonable doubt that (1) a

person knowingly or intentionally used a “communication facility”; and (2) that the person

used the “communication facility” with the intent to facilitate the commission of the

commission of the felony offense of possession with intent to distribute a controlled

substance, as that offense has been defined in these instructions.                  The term

“communication facility” means any and all public and private instrumentalities used or

useful in the transmission of writing, signs, signals, pictures, or sounds of all kinds and

includes mail, telephone, wire, radio, and all other means of communication.                To

“facilitate” the commission of an offense means to make easier or less difficult, or to aid

or assist in the commission of that offense.

       Section 846 makes it a crime for anyone to conspire with someone else to commit a

violation of certain controlled substances law of the United States. A “conspiracy” is an

agreement between two or more persons to join together to accomplish some unlawful

purpose. It is a kind of “partnership in crime” in which each member becomes the agent

of every other member. A person is guilty of this crime if the government proves beyond
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a reasonable doubt that (1) two or more persons, directly or indirectly, reached an

agreement to possess with intent to distribute a controlled substance in this case

methamphetamine, marijuana, K2, or suboxone; (2) the person knew of the unlawful

purpose of the agreement; and (3) the person joined the agreement willfully, that is, with

the intent to further its unlawful purpose.

       One may become a member of a conspiracy without knowing all the details of the

unlawful scheme or the identities of all the other alleged conspirators.        If a person

understands the unlawful nature of a plan or scheme and knowingly and intentionally joins

in that plan or scheme on one occasion, that is sufficient to convict him for conspiracy even

though the person had not participated before and even though the defendant played only

a minor part.

       The government need not prove that the alleged conspirators entered into any formal

agreement, nor that they directly stated between themselves all the details of the scheme.

Similarly, the government need not prove that all of the details of the scheme alleged in

the indictment were actually agreed upon or carried out, nor must it prove that all of the

persons alleged to have been members of the conspiracy were such, or that the alleged

conspirators actually succeeded in accomplishing their unlawful objectives.

       Mere presence at the scene of an event, even with knowledge that a crime is being

committed, or the mere fact that certain persons may have associated with each other and

may have assembled together and discussed common aims and interests, does not

necessarily establish proof of the existence of a conspiracy.       A person who has no
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knowledge of a conspiracy, but who happens to act in a way that advances some purpose

of a conspiracy, does not thereby become a conspirator.

       It is also alleged in Count One that acts indictable under Title 18, United States

Code, Section 1503 (relating to obstruction of justice), Section 1512 (relating to tampering

with a witness, victim or informant), and Section 153 (relating to retaliating against a

witness, victim, or an informant) are a type of racketeering activity that defendants agreed

would be committed as part of the racketeering conspiracy. I will now instruct you as to

the law on each of those acts.

       (12)   Title 18, United States Code, Section 1503 makes it a crime for anyone to

corruptly endeavor to influence, obstruct, or impede the due administration of justice in

connection with a pending judicial proceeding. A person is guilty of this crime if the

government proves beyond a reasonable doubt that (1) there was a proceeding pending

before a federal court; (2) a person knew of the pending judicial proceeding; and (3) that

the person endeavored to influence, obstruct, or impede the due administration of justice

in that proceeding; and (4) that the person’s act was done “corruptly,” that is, the person

acted knowingly and dishonestly, with the specific intent to subvert or undermine the due

administration of justice. It is not necessary to show that the person was successful in

achieving the forbidden objective, only that the defendant corruptly tried to achieve it in a

manner which he knew was likely to influence, obstruct, or impede the due administration

of justice due to the natural and probable effect of the person’s actions. The term “due

administration of justice” is defined as “the performance of acts required by law in the
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discharge of duties such as appearing as a witness and giving truthful testimony when

subpoenaed.”

       (13)    Title 18, United States Code, Section 1512(b)(1) makes it a crime for

anyone to knowingly use intimidation to threaten or corruptly persuade another person, or

attempt to do so, with the intent to influence, delay, or prevent the testimony of any person

in an official federal proceeding. A person is guilty of this crime if the government proves

beyond a reasonable doubt that (1) a person corruptly persuaded or attempted to persuade

another person; (2) that the person acted knowingly and with intent to dishonestly

influence, delay, or prevent the testimony of the other person in a federal official

proceeding, and (3) that the person knew or foresaw that the case was pending or likely to

be instituted. However, the government does not need to prove that an official proceeding

was actually pending or about to be instituted at the time of the alleged offense. I have

already instructed you on the meaning of the term “corruptly,” and you are to apply that

definition here. The term “intimidation” means the use of any words or actions intended

or designed to make another person timid or fearful, make that person refrain from doing

something he would otherwise do, or make that person do something that he would

otherwise not do. To “act with intent to influence the testimony of a witness” means to

act for the purpose of getting the witness to change, color, or shade his testimony in some

way. However, the government is not required to prove the witness’s testimony was, in

fact, changed in any way. “Official proceeding” means a proceeding before a judge or

court of the United States, a United States magistrate judge, or a Federal grand jury.
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       It is a crime for anyone to attempt to commit a violation of certain specified laws of

the United States, including the witness tampering statute just described. For you to find

a person guilty of attempting to tamper with a witness, you must be convinced that the

government has proved the following beyond a reasonable doubt: (1) that the person

intended to commit witness tampering; and (2) that the person did an act that constitutes a

substantial step toward the commission of that crime and that strongly corroborates the

person’s criminal intent and amounts to more than mere preparation.

       (14)   Title 18, United States Code, Section 1513(b) makes it a crime to

knowingly retaliate against another person for, among other things, providing information

relating to the commission or possible commission of a Federal offense to a law

enforcement officer. A person is guilty of this crime if the government proves beyond a

reasonable doubt that a person (1) that a person engaged or attempted to engage in conduct

and thereby caused bodily injury to another person or damage to the tangible property of

another person, or threatened to do so; (2) that the person did so with the intent to retaliate

against any person for any information relating to the commission or possible commission

of a federal offense given by a person to a law enforcement officer; and (3) the person did

so knowingly. “Law enforcement officer” means an officer or employee of the Federal

Government, or a person authorized to act for or on behalf of the Federal Government or

serving the Federal Government as an adviser or consultant authorized under law to engage

in or supervise the prevention, detection, investigation, or prosecution of an offense.



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       This statute also criminalizes attempted retaliation. I have already instructed you

on the elements of attempt, and you are to apply those instructions here.

       With regard to all of the alleged types of racketeering activity described above, the

government must have proved all elements of the crime beyond a reasonable doubt for you

to find that it constitutes a type of racketeering activity applicable to this case. You must

be unanimous as to the types of racketeering activity you find the government has proved.

ESSENCE OF A RICO CONSPIRACY – DEFINED – COUNT ONE

       Because the essence of a RICO conspiracy offense is the agreement to commit a

substantive RICO offense, the government need only prove that if the conspiracy offense

were completed as contemplated, the enterprise would exist, that this enterprise would

engage in, or its activities would affect, interstate or foreign commerce, and that a

conspirator (who could be, but need not be, the defendant himself) would have been

employed by or associated with the enterprise, and would have conducted or participated

in the affairs of the enterprise through a pattern of racketeering activity.

       The government is not required to prove that the alleged enterprise was actually

established, that any defendant was actually employed by or associated with the enterprise,

or that the enterprise was actually engaged in, or its activities actually affected, interstate

or foreign commerce.

AGREEMENT TO COMMIT A RICO OFFENSE – COUNT ONE

       The agreement to commit a RICO offense is the essential aspect of a RICO

conspiracy offense. The jury may find that a defendant has entered into the requisite

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agreement to violate RICO when the government has proven beyond a reasonable doubt

that the defendant agreed with at least one other conspirator that at least two acts of

racketeering of the type or types of racketeering activity listed in the First Superseding

Indictment would be committed by a member of the conspiracy in the conduct of the affairs

of the enterprise. The government is not required to prove that the defendant personally

committed two racketeering acts, or that he agreed to personally commit two racketeering

acts. Rather, it is sufficient if the government proves beyond a reasonable doubt that the

defendant agreed to participate in the enterprise with the knowledge and intent that at least

one member of the RICO conspiracy (who could be, but need not be, the defendant himself)

would commit at least two racketeering acts in the conduct of the affairs of the enterprise.

       To establish the requisite conspiratorial agreement, the government is not required

to prove that each co-conspirator explicitly agreed with every other coconspirator to violate

section 1962(c), knew all his fellow conspirators, or was aware of all of the details of the

conspiracy. Rather to establish sufficient knowledge, it is only required that the defendant

knew the general nature and common purpose of the conspiracy and that the conspiracy

extended beyond his individual role.

       The elements of a RICO conspiracy, such as the conspiratorial agreement, the

defendant’s knowledge of it, and the defendant’s participation in the conspiracy, may be

inferred from circumstantial evidence. For example, when the evidence establishes that

the defendant and at least one other conspirator committed several acts in furtherance of

the charged enterprise’s affairs, you may infer the existence of the requisite agreement to
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commit a RICO offense. However, you must determine whether, based on the entirety of

the evidence, the government has proven that the defendant entered into the required

conspiratorial agreement.

       It is not necessary that the government prove that a particular defendant was a

member of the conspiracy from its beginning. Different persons may become members

of the conspiracy at different times.

       If you find that there is a RICO conspiracy, you may consider the acts and statements

of any other member of the conspiracy during and in furtherance of the conspiracy as

evidence against a defendant whom you have found to be a member of it. When persons

enter into a conspiracy, they become agents for each other, so that the act or statement of

one conspirator during the existence of, and in furtherance of, the conspiracy is considered

the act or statement of all the other conspirators and is evidence against them all.

       Moreover, a defendant may be convicted as a conspirator even though he plays a

minor role in the conspiracy, provided that you find beyond a reasonable doubt that the

conspiracy existed and that the defendant knowingly participated in the conspiracy with

the intent to accomplish its objective or assist other conspirators in accomplishing its

objective.

ADDITIONAL FINDINGS ON RICO CONSPIRACY

       If you find defendant, William Glenn Chunn, guilty of the RICO conspiracy charged

in Count One, there are additional questions that you must answer on the verdict form for

that defendant. I will further instruct you on this point later.

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That concludes instructions that pertain to Count One and racketeering activity.

I will now explain the remaining counts that are alleged in the Indictment.



Count Two of the Indictment charges defendant Jesse Paul Blankenship with the Violent

Crime in Aid of Racketeering (also known as “VICAR”) - Kidnapping of J.J., and aiding

and abetting that kidnapping.

Count Three of the Indictment charges defendant Jesse Paul Blankenship with the Violent

Crime in Aid of Racketeering (also known as “VICAR”) - Conspiracy to Kidnap J.J.

VIOLENT CRIMES IN AID OF RACKETEERING – COUNTS TWO AND THREE

       Title 18, United States Code, Section 1959(a), makes it a crime for anyone to

commit, threaten to commit, attempt to commit, or conspire to commit a violent crime in

aid of an enterprise engaged in racketeering activity.

THE STATUTE DEFINING THE OFFENSES CHARGED – COUNTS TWO AND
THREE

       Section 1959 of Title 18, United States Code, provides in pertinent part:

       Whoever . . . for the purpose of gaining entrance to or maintaining or
       increasing position in an enterprise engaged in racketeering activity,…
       kidnaps . . . any individual in violation of the laws of any State or the United
       States, or conspires so to do,

       shall be guilty of an offense against the United States.




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THE ESSENTIAL ELEMENTS OF THE OFFENSE CHARGED – COUNTS TWO
AND THREE

      For you to find a defendant guilty of a crime charged in Counts Two or Three of the

Indictment, you must be convinced that the government has proved each of the following

beyond a reasonable doubt:

      First:       On or about the date charged in Counts Two and Three, the Aryan

                   Circle existed as an “enterprise”;

      Second:      The enterprise engaged in, or its activities affected, interstate or

                   foreign commerce;

      Third:       The enterprise engaged in racketeering activity;

      Fourth:      As to Count Two, the defendant committed, or aided and abetted, the

                   charged crime of violence, that is kidnapping,

                   As to Count Three, the defendant committed the charged crime of

                   violence, that is, conspiracy to commit kidnapping.

                   I will instruct you on what the government must prove to establish

                   that the defendant committed these acts; and

      Fifth:       The defendant’s purpose in committing, the charged crime of violence

                   was to maintain or increase position in the enterprise.




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FIRST ELEMENT – EXISTENCE OF AN ENTERPRISE

        The first element the government must prove beyond a reasonable doubt as to both

Counts Two and Three is that an “enterprise” existed as defined in the First Superseding

Indictment. The government has charged the same enterprise for these counts as in the

racketeering conspiracy count, that is, the Aryan Circle, including its leadership, members

and associates. I have already instructed you on what is necessary for the government to

prove that the Aryan Circle is an enterprise, and you may refer to those instructions again

here.

SECOND ELEMENT – THE ENTERPRISE ENGAGED IN OR ITS ACTIVITIES
AFFECTED INTERSTATE AND FOREIGN COMMERCE

        The next element the government must prove as to both Counts Two and Three is

that the Aryan Circle engaged in, or its activities affected, interstate or foreign commerce.

I have also already instructed you on what is necessary for the government to prove that

the Aryan Circle engaged in, or its activities affected, interstate or foreign commerce, and

you may refer to those instructions again here.

THIRD ELEMENT – ENGAGED IN RACKETEERING ACTIVITY

        The next element the government must prove beyond a reasonable doubt as to both

Count Two and Three is that the enterprise engaged in racketeering activity at or about the

time of the violent crime charged in those counts. I discussed the various types of

racketeering activity charged in connection with this case.

        The First Superseding Indictment alleges that the Aryan Circle, through its members

and associates, engaged in “racketeering activity” consisting of acts involving murder, in
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violation of Alabama, Arkansas, Kentucky, Louisiana, Mississippi, Missouri, New Jersey,

Texas, and Virginia state and commonwealth law, and offenses involving trafficking in

controlled substances in violation of Title 21, United States Code, Sections 861, 846, and

832. I have previously instructed you on the elements for each of these offenses, and you

should apply those instructions here as well.

       As to Counts Two and Three, the government must prove beyond a reasonable doubt

that the enterprise was engaged in at least one of the types of racketeering activity named

above. Significantly, Section 1959, that is, the VICAR statute charged in Counts Two and

Three, does not require a “pattern of racketeering activity.”

       It is for you to determine whether the enterprise “engaged in” these activities as

charged. You should give the words “engaged in” their ordinary, everyday meaning.

The element is satisfied by showing that members or associates of the enterprise committed

racketeering activity on behalf of or in connection with the enterprise.

FOURTH ELEMENT – THE DEFENDANT COMMITTED THE CHARGED
VIOLENT CRIME

       The next element the government must establish beyond a reasonable doubt is that

the defendant committed, or aided and abetted the commission of, the alleged violent crime

charged in Count Two and that he committed the violent crime charged in Count Three of

the First Superseding Indictment.

       For Count Two, the government must prove beyond a reasonable doubt that the

defendant committed, or aided and abetted, the kidnapping of Victim J.J. The government


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must also prove that the kidnapping violated Missouri law. The government must prove

each of the following elements beyond a reasonable doubt:

       First: That the defendant, unlawfully removed J.J. from his place of residence, or a

substantial distance from the vicinity where he was found, or if he unlawfully confined J.J.

for a substantial period in a place of isolation; and

       Second: That the defendant did so for one of the following purposes: (i) to facilitate

commission of any felony or flight thereafter, or (ii) to inflict bodily injury on or to terrorize

J.J. or another.

       A removal or confinement is unlawful if it is accomplished by force, threat, or

deception.

       Under Missouri law, a person is guilty of first-degree kidnapping if he unlawfully

removes another person without his or her consent from the place where he or she is found

or unlawfully confines another person without his or her consent for a substantial period,

for the purpose of inflicting physical injury on or terrorizing the victim or another.

Consent or lack of consent may be expressed or implied. Assent does not constitute

consent if it is induced by force, duress or deception. Lack of consent results from forcible

compulsion.        “Forcible compulsion” means either physical force that overcomes

reasonable resistance, or a threat, express of implied, that places a person in reasonable fear

of death, serious physical injury, or kidnapping of such person or another person. One

who submits to being confined through fear of force is kidnapped, and the actual use of

force is not a necessary element. “Physical injury” means a slight impairment of any
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function of the body or temporary loss of use of any part of the body. “Serious physical

injury” means physical injury that creates a substantial risk of death or that causes serious

disfigurement or protracted loss or impairment of the function of any part of the body. A

victim is “terrorized” when the victim is caused to feel terror or anxiety, or is coerced

through threats or violence.

       I have already instructed you on what constitutes criminal liability for the conduct

of another under Missouri law, and aiding and abetting under federal law. You should

apply those instructions here with regard to Count Two.

       For Count Three, the government must prove beyond a reasonable doubt that the

defendant conspired to commit the kidnapping of Victim J.J. The government must also

prove that the conspiracy violated Missouri law.

       I have already instructed you on the elements of kidnapping under federal and

Missouri state law and you should apply those instructions here. Under Missouri law, a

person commits the offense of conspiracy if the person agrees, with one or more persons,

to commit an offense, and one or more of such persons do any act in furtherance of such

an agreement. It is no defense to a prosecution for conspiring to commit an offense that a

person, who knows that a person with whom he conspires to commit an offense has

conspired with another person or persons to commit the same offense, does not know the

identity of such other person or persons.




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FIFTH ELEMENT – PURPOSE TO MAINTAIN OR INCREASE POSITION IN
THE ENTERPRISE OR TO GAIN ENTRANCE INTO THE ENTERPRISE

       The last element the United States must establish beyond a reasonable doubt as to

both Counts Two and Three is that the defendant’s general purpose in committing the

underlying violent crime was to maintain or increase position in, or to gain entrance into,

the enterprise. With regard to this element, it is not necessary for the government to prove

that this was the sole purpose of the defendant in committing the charged crime. You need

only find that it was a substantial purpose, or that the defendant committed the charged

crime as an integral aspect of membership in the enterprise.           In determining the

defendant’s purpose in committing the alleged crime, you must determine what he had in

mind. Because you cannot look into a person’s mind, you have to determine purpose by

considering all of the facts and circumstances before you.

       In determining whether the defendant’s purpose in committing the alleged acts was

to maintain or increase position in the enterprise, or to aid and abet another’s maintaining

or increasing position in the enterprise, you should give the words “maintain” or “increase”

their ordinary meanings. Similarly, in determining whether the defendant’s purpose in

committing the alleged acts was to gain entrance into the enterprise, you should give the

word “gain” its ordinary meaning. You should consider all of the facts and circumstances

in making that determination. For example, you may consider evidence that the crime, if

proved, was intended to, or served to maintain, the defendant’s position in the enterprise

or maintain discipline within the enterprise. If the defendant conspired, committed, or


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attempted to commit the crime because he knew it was expected of him by reason of his

membership in the enterprise, because he thought it would enhance his position or prestige

within the enterprise, or because he thought it was necessary to maintain the position he

already held, this element would be established. Similarly, if the government proved it

was intended to or served to gain to advance the defendant’s position in the enterprise or

to gain entrance into the enterprise, this element would be established. These examples

are only meant by way of illustration. They are not exhaustive.




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DUTY TO DELIBERATE

       To reach a verdict, whether it is guilty or not guilty, all of you must agree. Your

verdict must be unanimous on each count of the First Superseding Indictment.

       It is your duty to consult with one another and to deliberate in an effort to reach

agreement if you can do so. Each of you must decide the case for yourself, but only after

an impartial consideration of the evidence with your fellow jurors. Do not let any bias,

sympathy, or prejudice that you may feel toward one side or the other influence your

decision in any way. In particular, do not let racial, ethnic, national origin, or other bias

influence your decision in any way.        During your deliberations, do not hesitate to

reexamine your own opinions and change your mind if convinced that you were wrong.

But do not give up your honest beliefs as to the weight or effect of the evidence solely

because the opinion of your fellow jurors, or for the mere purpose of returning a verdict.

       Remember at all times, you are judges—judges of the facts. Your duty is to decide

whether the government has proved the defendant guilty beyond a reasonable doubt.

       When you go to the jury room, the first thing that you should do is select one of

your number as your foreperson, who will help to guide your deliberations and will speak

for you here in the courtroom.

       A verdict form has been prepared for your convenience.

As to each defendant, the first question asks whether you find that the named defendant is

“guilty” or “not guilty” of Count One of the First Superseding Indictment, racketeering

conspiracy. As to defendant Chunn, if you answer “not guilty,” you may stop there as to

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that Count. If you answer “guilty,” then you must answer the next questions under that

Count, which also require a finding beyond a reasonable doubt. Please note that these

additional questions ask you to decide whether the government has proven the allegations

made in Paragraph 8 of the First Superseding Indictment. Specifically, you must decide

(1) whether defendant Chunn and others, “while aiding and abetting each other, designed

and endeavored to kill M.M., with deliberate design to effect the death of M.M., but failed

or were prevented from committing the same”; or (2) whether defendant Chunn and others,

“while aiding and abetting each other . . . designed and endeavored to commit an act

eminently dangerous to M.M. and evincing a depraved heart, regardless of human life,

although without any premeditated design to effect the death of M.M., but failed or were

prevented from committing the same.” When considering these additional questions, you

must be unanimous as to whether the government has proven, beyond a reasonable doubt,

either or both of the additional questions asked. If you find that the government has not

proved William Glenn Chunn guilty of the RICO conspiracy offense charged in Count

One, then you do not need to answer the additional questions.

       As to defendant Blankenship, you are to answer “guilty” or “not guilty” as to the

additional Counts that follow the racketeering conspiracy Count.

       The foreperson will write the unanimous answer of the jury in the space provided

for each count of the indictment, either guilty or not guilty. At the conclusion of your

deliberations, the foreperson should date and sign the verdict.

       If you need to communicate with me during your deliberations, the foreperson
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should write the message and give it to the court security office. I will either reply in

writing or bring you back into the court to answer your message.

      Bear in mind that you are never to reveal to any person, not even to the court, how

the jury stands, numerically or otherwise, on any count of the indictment, until after you

have reached a unanimous verdict.

      SIGNED this the 15 day of November, 2021.




                                  ____________________________
                                  Thad Heartfield
                                  United States District Judge




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